                        Case
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

                    LUIZA DUBROVSKY                                  )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.     23-cv-10149
                                                                     )
                JOHN STEVEN STEWART                                  )
                 and COLE SCHOTZ P.C.                                )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) John Steven Stewart
                                           1 North Avenue
                                           Montvale, New Jersey 07645




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: WOODS LONERGAN PLLC
                                           James F. Woods, Esq.
                                           Annie E. Causey, Esq.
                                           60 East 42nd Street, Suite 1410
                                           New York, New York 10165
                                           (212) 684-2500

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:             11/21/2023                                                                    /s/ P. Canales
                                                                                          Signature of Clerk or Deputy Clerk
